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                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE NORTHERN DISTRICT OF INDIANA
                                HAMMOND DIVISION

 JOHN DOE,                                                       )
                                                                 ) CIVIL ACTION
              Plaintiff,                                         )
 v.                                                              )
                                                                 )
 PURDUE UNIVERSITY, PURDUE UNIVERSITY                            )
 BOARD OF TRUSTEES, MITCHELL ELIAS                               )
 DANIELS, JR., in his official capacity as President of          )
 Purdue University, ALYSA CHRISTMAS ROLLOCK,                     ) No. 2:17-cv-33-JPK
 in her official capacity at Purdue University,                  )
 KATHERINE SERMERSHEIM, in her official capacity                 )
 at Purdue University,                                           )
                                                                 )
               Defendants.                                       )

                           NOTICE OF ADDITIONAL AUTHORITY

        Come now Defendants, by counsel, in reference to DE 177, and submit to the Court

newly issued authority on the Article III standing requirement from the United States Court of

Appeals for the Seventh Circuit, attached hereto as Exhibit A.

 Dated: April 4, 2022                               Respectfully submitted,

                                                    /s/ William P. Kealey
                                                    Tyler L. Jones (34656-29)
                                                    William P. Kealey (18973-79)
                                                    James F. Olds (27989-53)
                                                    Stuart & Branigin, LLP
                                                    300 Main St., Ste. 900
                                                    P.O. Box 1010
                                                    Lafayette, IN 47902-1010
                                                    Telephone: 765-423-1561
                                                    Email: wpk@stuartlaw.com
                                                            tlj@stuartlaw.com
                                                            jfo@stuartlaw.com
                                                    Attorneys for Defendants

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